Case 1:24-cv-00496-JAO-WRP     Document 36   Filed 01/10/25   Page 1 of 21 PageID.693



 Alan Alexander Beck
 Law Office of Alan Beck
 2692 Harcourt Drive
 San Diego, CA 92123
 (619) 905-9105
 Hawaii Bar No. 9145
 Alan.alexander.beck@gmail.com

 Kevin Gerard O’Grady
 Law Office of Kevin O’Grady, LLC
 1164 Bishop Street, Suite 1605
 Honolulu, Hawaii 96813
 (808) 521-3367
 Hawaii Bar No. 8817
 Kevin@KevinOGradyLaw.Com

 Attorneys for Plaintiff

                   IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

   ELIJAH PINALES, JUDA     )            CIVIL NO. 1:24-cv-00496 JAO-WRP
   ROACHE, ALOHA STRATEGICS )
   LLC DBA DANGER CLOSE     )
   TACTICAL, JGB ARMS LLC,  )
   SECOND AMENDMENT         )            PLAINTIFFS’ REPLY TO ANNE E.
   FOUNDATION,              )            LOPEZ’S OPPOSITION TO THE
                            )            MOTION FOR PRELIMINARY
   Plaintiffs,              )            INJUNCTION
                            )
   v.                       )
                            )
   ANNE E. LOPEZ, IN HER    )
   OFFICIAL CAPACITY AS THE )
   ATTORNEY GENERAL FOR THE )
   STATE OF HAWAII,         )
                            )
   Defendant                )
Case 1:24-cv-00496-JAO-WRP                   Document 36            Filed 01/10/25          Page 2 of 21 PageID.694



                                                 Table of Contents

  I.       Plaintiffs Have Standing ...............................................................................1

  II.      Adults Under 21 Are Part Of “The People” ................................................5

  III.     Hawaii Law Is Inconsistent With Historical Tradition ..............................8

  IV.      Militiamen Were Required To Supply Their Own Personal Arms ......... 11

  V.    The Remaining Preliminary Injunction Factors Support the Issuance of
  an Injunction ..........................................................................................................12

  VI.      Conclusion ....................................................................................................15




                                                             ii
Case 1:24-cv-00496-JAO-WRP                     Document 36             Filed 01/10/25           Page 3 of 21 PageID.695



                                                 Table of Authorities

  Cases

  Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053 (9th Cir. 2014) ............................14

  Baird v. Bonta, 81 F.4th 1036 (C.A.9 (Cal.), 2023) .......................................... 13, 14

  Bowsher v. Synar, 478 U.S. 714 (1986) ......................................................................1

  Brown v. Ent. Merch. Ass’n, 564 U.S. 786 (2011) ...................................................12

  Distirct of Columbia v.Heller 554 U.S. 570 (U.S. 2008) ................................. 5, 6, 7

  Espinoza v. Montana Department of Revenue, 140 S. Ct. 2246 (2020)..................... 11

  Hays v. City of Urbana, Ill., 104 F.3d 102 (7th Cir. 1997) ........................................3

  Kaahumanu v. Hawaii, 682 F.3d 789 (9th Cir. 2012) ................................................4

  Kanter v. Barr, 919 F.3d 437 (7th Cir. 2019) ............................................................7

  Kipke v. Moore, 695 F.Supp.3d 638 (D. Md. 2023) ....................................................7

  Lydo Enterprises, Inc. v. City of Las Vegas, 745 F.2d 1211 (9th Cir. 1984) ............13

  Maryland Shall Issue, Incorporated v. Hogan, 971 F.3d 199 (4th Cir. 2020) ...........4

  McDonald v. City of Chicago, 561 U.S. 742 (2010) ................................................12

  Melendres v. Arpaio, 695 F.3d 990 (9th Cir. 2012)..................................................15

  New Jersey v. T.L.O., 469 U.S. 325 (1985) ...............................................................6

  New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S.Ct. 2111 (U.S., 2022)
    ...................................................................................................................... passim

  Pierce v. Society of Sisters, 268 U.S. 510, 45 S.Ct. 571, 69 L.Ed. 1070 (1925) .......3


                                                               iii
Case 1:24-cv-00496-JAO-WRP                   Document 36           Filed 01/10/25          Page 4 of 21 PageID.696



  Range v. Attorney General United States, --- F.4th ----, 2024 WL 5199447 (3d Cir.
   Dec. 23, 2024) ....................................................................................................7, 8

  Reese v. Bureau of Alcohol Tobacco Firearms & Explosives, 647 F.Supp.3d 508
    (W.D.La. 2022) .......................................................................................................2

  Riley's Am. Heritage Farms v. Elsasser, 32 F.4th 707 (9th Cir. 2022) ....................15

  Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547 U.S. 47 (2006) ...........1

  Stavrianoudakis v. U.S. Fish & Wildlife Serv., 108 F.4th 1128 (9th Cir. 2024) ........4

  Teixeira v. Cty. of Alameda, 873 F.3d 670 (9th Cir. 2017) .........................................3

  Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503 (1969) ........................6

  United States v. Allam, 677 F.Supp.3d 545 (E.D. Tex. 2023) ..................................12

  United States v. Carpio-Leon, 701 F.3d 974 (4th Cir. 2012) .....................................7

  United States v. Connelly, 117 F.4th 269 (5th Cir. 2024)...........................................8

  United States v Rahimi, 602 U.S. 680 (2024) ...................................................... 8, 11

  United States v. Quiroz, 629 F.Supp.3d 511 (W.D.Tex. 2022) ...................................7

  Virginia v. American Booksellers Association, Inc., 484 U.S. 383, 108 S.Ct. 636, 98
    L.Ed.2d 782 (1988) .................................................................................................3

  Worth v. Jacobson, 108 F.4th 677 (C.A.8 (Minn.), 2024)............................... passim

  Statutes

  18 U.S.C. § 922(b)(1).................................................................................................2

  1856 Ala. Laws 17 ....................................................................................................10

  1856 Tenn. Pub. Acts 92 ...........................................................................................10

  1859 Ky. Acts 245 § 23 ............................................................................................10
                                                             iv
Case 1:24-cv-00496-JAO-WRP                   Document 36            Filed 01/10/25          Page 5 of 21 PageID.697



  Haw. Rev. Stat. § 134-2(f)..........................................................................................2

  HRS § 134-7.7............................................................................................................1

  Other Authorities

  Allen D. Candler, comp., 19(part 1) THE COLONIAL RECORDS OF THE STATE
   OF GEORGIA 138 (1910)......................................................................................9

  Kopel, David B. and Greenlee, Joseph, The Second Amendment Rights of Young
   Adults (January 16, 2019). 43 Southern Illinois Law Journal 495 (2019), U Denver
   Legal Studies Research Paper No. 18-28 ...............................................................9

  University Church in Yale, Yale University, https://church.yale.edu/history ..........12




                                                              v
Case 1:24-cv-00496-JAO-WRP       Document 36     Filed 01/10/25    Page 6 of 21 PageID.698



        In Defendant Lopez’s (“Hawaii” or “the State”) opposition to Plaintiffs’

  motion for preliminary injunction, Hawaii is unable to point to a single law which

  prohibited the ownership of firearms of adults under 21. Instead, it analogizes to

  voting rights, contract and other similarly inapposite laws to argue for a historical

  tradition that simply does not exist. Plaintiffs have established standing and the other

  factors for the issuance of a preliminary injunction are in their favor.1

  I.    Plaintiffs Have Standing

        Hawaii argues that Plaintiffs have collectively not established standing. But

  “the presence of one party with standing is sufficient to satisfy Article III's case-or-

  controversy requirement.” Rumsfeld v. Forum for Acad. & Institutional Rights, Inc.,

  547 U.S. 47, 52 n.2 (2006). This Court “need not consider the standing issue as to the”

  other Plaintiffs. Bowsher v. Synar, 478 U.S. 714, 721 (1986). Hawaii’s only argument

  regarding Plaintiff Pinales’s standing relies on a misunderstanding of federal law.

  Pinales alleges that he “would acquire, purchase, own and possess a firearm and

  ammunition” and that allegation includes both long guns, as well as handguns.

  Complaint ¶ 69. Hawaii argues that it is unclear what type of firearm Pinales wishes


  1
    Plaintiffs challenge all of the Hawaii Revised Statutes which prohibit the
  acquisition of firearms and ammunition to adults under the age of 21 including HRS
  § 134-7.7. Plaintiffs’ challenge to HRS § 134-7.7 is subsumed into their larger
  challenge to HRS § 134-7. Plaintiffs’ respectfully request that this Court construe
  their challenge to include HRS § 134-7.7 as part of their challenge to HRS § 134-7.
  If this Court does not, Plaintiffs will amend their complaint after the resolution of
  these preliminary injunction proceedings to expressly list HRS § 134-7.7.
                                            1
Case 1:24-cv-00496-JAO-WRP       Document 36      Filed 01/10/25    Page 7 of 21 PageID.699



  to acquire. And if that firearm is a handgun he would still be prohibited by federal

  law. Pinales is referring to a firearm which he could purchase legally but for Hawaii

  law. Thus, this argument should be dismissed immediately. Furthermore, even if this

  desire applies to handguns, Hawaii’s arguments have no merit because it is legal to

  acquire a handgun from a private party under federal law and Hawaii state law (apart

  from the challenged laws).

        It is unlawful for adults under the age of 21 to purchase handguns from a

  licensed dealer. 18 U.S.C. § 922(b)(1). “Thus, while federal law prohibits the direct

  purchase of handguns from FFLs by persons aged 18 to 20, such persons [under

  federal law] may still possess and use handguns, they may receive handguns as gifts,

  and they may purchase handguns through unlicensed, private sales.” Reese v. Bureau

  of Alcohol Tobacco Firearms & Explosives, 647 F.Supp.3d 508, 520 (W.D.La. 2022).

  And, if the challenged Hawaii law were enjoined, Pinales could legally purchase

  handguns through a private sale from a non-FFL or acquire one through a gift

  pursuant to Haw. Rev. Stat. § 134-2(f).2 Thus, even if this Court were to construe

  Pinales’s desire to obtain firearms as a desire to obtain handguns, Hawaii’s standing



  2
    “Moreover, there is room for concurrent causation in the analysis of standing,
  Libertarian Party of Va. v. Judd, 718 F.3d 308, 316 (4th Cir. 2013) (holding that if a
  petition witness residency requirement was “at least in part responsible for
  frustrating [plaintiff's] attempt to fully assert his First Amendment rights in Virginia,
  the causation element of Lujan is satisfied”). Constitution Party v. Aichele, 757 F.3d
  347, 366 (3d Cir. 2014).
                                                2
Case 1:24-cv-00496-JAO-WRP       Document 36     Filed 01/10/25    Page 8 of 21 PageID.700



  argument is without merit. And Pinales’ desire and intent to acquire long guns falls

  completely outside the ambit of Section 922(b)(1) entirely.

        The State argues that Plaintiff Roache’s claims are not ripe because he was 17

  at the time the complaint was filed. Roache turned 18 on Dec. 15, 2024, prior to the

  filing of the State’s response. Complaint ¶ 2. Claims can be brought before the

  effective date of a statute. “Long ago, the Supreme Court held that a person who

  must comply with a law or face sanctions has standing to challenge its application

  to him, even if the threat of prosecution is not immediate—indeed, even if the law is

  not yet in effect.” Hays v. City of Urbana, Ill., 104 F.3d 102, 103 (7th Cir. 1997).3 In

  any event, his claims are now ripe and thus subject to this Court’s jurisdiction.

        Hawaii argues that the Business Plaintiffs do not have standing because they

  have not proven that their customers would go through Hawaii’s process to obtain a

  firearm. But the Ninth Circuit has never required this analysis when determining the

  standing of businesses. See Teixeira v. Cty. of Alameda, 873 F.3d 670, 678 (9th Cir.

  2017) (en banc) (holding that “Teixeira, as the would-be operator of a gun store, thus

  has derivative standing to assert the subsidiary right to acquire arms on behalf of his


  3
   See, e.g., Pierce v. Society of Sisters, 268 U.S. 510, 45 S.Ct. 571, 69 L.Ed. 1070
  (1925) (suit commenced four years before law was to take effect, and resolved on
  the merits by the Supreme Court two years before its effective date); Virginia v.
  American Booksellers Association, Inc., 484 U.S. 383, 393, 108 S.Ct. 636, 643, 98
  L.Ed.2d 782 (1988) (“We are not troubled by the pre-enforcement nature of this suit.
  The State has not suggested that the newly enacted law will not be enforced, and we
  see no reason to assume otherwise.”).
                                             3
Case 1:24-cv-00496-JAO-WRP      Document 36     Filed 01/10/25   Page 9 of 21 PageID.701



  potential customers”); Kaahumanu v. Hawaii, 682 F.3d 789, 797 (9th Cir. 2012)

  (holding that a wedding planner had standing to challenge permitting regulations on

  behalf of those who sought to get married). “Accordingly, vendors and those in like

  positions have been uniformly permitted to resist efforts at restricting their

  operations by acting as advocates of the rights of third parties who seek access to

  their market or function.” Id. See also Maryland Shall Issue, Incorporated v. Hogan,

  971 F.3d 199, 216 (4th Cir. 2020) (applying Craig to hold that a firearms dealer had

  standing to assert the Second Amendment rights of its customers). Hawaii has cited

  no case law which contradicts this precedent. Business Plaintiffs bring these claims

  on behalf of their 18 to 20-year-old customers who desire and intend to purchase

  firearms and ammunition but for the challenge regulations. Precedent requires a

  finding that Business Plaintiffs have standing.

        SAF brings its claim on behalf of its members, including Plaintiffs Pinales and

  Roache, and has shown that “(a) its members would otherwise have standing to sue

  in their own right; (b) the interests it seeks to protect are germane to the

  organization’s purpose; and (c) neither the claim asserted nor the relief requested

  requires the participation of individual members in the lawsuit.’” Stavrianoudakis v.

  U.S. Fish & Wildlife Serv., 108 F.4th 1128, 1143 (9th Cir. 2024) (citation omitted).

  SAF has members who live in Hawaii who are between the ages of 18 and 20,

  including Plaintiffs Pinales and Roache who are impacted by the challenged laws.

                                            4
  Case 1:24-cv-00496-JAO-WRP        Document 36      Filed 01/10/25   Page 10 of 21
                                    PageID.702


Complaint ¶¶ 1, 2, 5, 103. Firearm rights are germane to SAFs purpose because one

of its core purposes is “legal action focusing on the constitutional right to privately

acquire, own and possess firearms and ammunition.” Complaint ¶ 5. And neither the

claim—that Hawaii’s ban on firearm acquisition by adults 18-to-20-years-old—nor

the requested declaratory and injunctive relief, require the direct participation of

individual members in the suit. Thus, SAF easily fulfills the legal standard for

representative standing.

II.   Adults Under 21 Are Part Of “The People”

      The State argues that adults between the ages of 18 and 20 do not have Second

Amendment rights because they were not considered part of the political community

at the time of the Founding. “Arguments of this type, focusing on the original

contents of a right instead of the original definition—i.e., that only those people

considered to be in the political community in 1791 “are protected by the Second

Amendment,” instead of those meeting the original definition of being within the

political community—are ‘bordering on the frivolous.’ ” Worth v. Jacobson, 108

F.4th 677, 690 (C.A.8 (Minn.), 2024). What is important is that 18 to 20-year-olds

are included in the “political community” now. Id at 689.

      Heller ruled that “the people” is a term of art that refers to “all members of

the political community, not an unspecified subset.” 554 U.S. 570, 596 (U.S.

2008). Bruen stated that, at a minimum, “ordinary, law-abiding, adult citizens []

                                          5
  Case 1:24-cv-00496-JAO-WRP         Document 36     Filed 01/10/25    Page 11 of 21
                                     PageID.703


are part of ‘the people’ whom the Second Amendment protects.” New York State

Rifle & Pistol Association, Inc. v. Bruen, 142 S.Ct. 2111, 2134 (U.S., 2022). “The

Second Amendment…‘surely elevates above all other interests the right of law-

abiding, responsible citizens to use arms’ for self-defense.” Id. at 2131 (quoting

Heller, 554 U.S. at 635). Additionally, the two other enumerated rights of “the

people” ― the First and Fourth Amendment ― apply to all Americans regardless

of age. Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 511 (1969);

New Jersey v. T.L.O., 469 U.S. 325, 334 (1985). Every American is part of “the

people” – 18-20-year-olds are not cast aside from the plain text of the Second

Amendment’s nor its protections. Any age-based limitation must be found at the

historical step.

       Hawaii argues that at the time of the Founding, individuals under 21 could not

vote or engage in certain other civic functions and thus, were not part of the people

at the time of the Founding. Contrary to Hawaii’s assertion, “the political community

is not confined to those with political rights (eligible voters) at the founding.” Worth

108 F.4th at 690. Pursuant to Worth, at the Founding, adults under 21 were part of

the people. Even if Hawaii “were correct in its assertions about the political

community's definition, the contents of that defined term have changed” and adults

under 21 are part of the people today. Id at 690–91.




                                           6
    Case 1:24-cv-00496-JAO-WRP      Document 36     Filed 01/10/25   Page 12 of 21
                                    PageID.704


       By the State’s logic, women, nonwhites and nontaxpayers are not part of “the

people” and can likewise be subject to the same firearms bans. That result is clearly

unconstitutional. “It should go without saying that such race-based exclusions would

be unconstitutional today.” Kanter v. Barr, 919 F.3d 437, 458 n.7 (7th Cir. 2019)

(Barrett, J., dissenting)( discussing laws disarming of slaves and Native Americans).4

After all, “groups like women, Native Americans, and blacks may not have been part

of the political community at the time of the founding but are today within the class

that we refer to as ‘the people.’” United States v. Carpio-Leon, 701 F.3d 974, 978

n.1 (4th Cir. 2012). Just as Heller rejected the idea that the Second Amendment

protected only the original contents of the defined term “arms” and, instead, applied

that original definition “to all instruments that constitute bearable arms, even those

that were not in existence at the time of the founding.” (Worth, 108 F.4th at 690

(quoting Heller, 554 U.S. at 582)), “ ‘[t]he Second Amendment extends, prima

facie,’ to all members of the political community, ‘even those that were not

[included] at the time of the founding.’ ” Worth, 108 F.4th at 690 (quoting Heller,

554 U.S. at 580 & 582). See also Range v. Attorney General United States, --- F.4th

----, 2024 WL 5199447 at *4 (3d Cir. Dec. 23, 2024) (en banc) (finding that the

people in in the First and Fourth Amendment context has no age restrictions). There


4
 See also Kipke v. Moore, 695 F.Supp.3d 638, 659 (D. Md. 2023) (Black Codes). See
also United States v. Quiroz, 629 F.Supp.3d 511, 519-24 (W.D.Tex. 2022) (historically
disfavored groups).
                                          7
  Case 1:24-cv-00496-JAO-WRP          Document 36      Filed 01/10/25    Page 13 of 21
                                      PageID.705


is “no reason to adopt a reading of ‘the people’ that excludes Americans from the

scope of the Second Amendment while they retain their constitutional rights in other

contexts.” Id. By infringing on the right of the people to own firearms, Hawaii law

“contradicts the Second Amendment's plain text.” United States v. Connelly, 117

F.4th 269, 274 (5th Cir. 2024).

III.   Hawaii Law Is Inconsistent With Historical Tradition

       In order for its current restriction to meet constitutional muster, the burden is on

the State to show a traditional of analogous historical regulation that matches both in

“how” and “why” it was enacted. See Rahimi, 602 U.S. at 692 (“Why and how the

regulation burdens the right are central to this [historical] inquiry”), citing Bruen,

597 U.S. at 29. The firearms regulations offered by the State, differ materially in

both regards from the challenged laws. While the State argues that a more “nuanced

approach” to this matter, because of some purportedly new and “unprecedented

societal concern,” shelters them from the demands of Bruen and Rahimi, they are

mistaken. Op at 17. To be sure, 1791 is the relevant time period for understanding the

Second Amendment’s meaning. PI Memo at 14-15.

       While the State argues that the problem it seeks to address is a new one unknown

to the Founders—it points out, for example, that handguns became more widely

available in the middle of the 19th century, id. at 41—the State apparently ignores or

finds inconvenient, that it has not targeted handguns, but rather has targeted 18-to-20-

                                            8
    Case 1:24-cv-00496-JAO-WRP       Document 36     Filed 01/10/25    Page 14 of 21
                                     PageID.706


year-olds because it views them as immature and dangerous with firearms. But 18-to-

20-year- olds were required by law at the Founding to be armed and there are no similar

age-based restrictions from that period. “The lack of a distinctly similar historical

regulation addressing that problem is relevant evidence that the challenged regulation

is inconsistent with the Second Amendment.” Bruen, 142 S. Ct. at 2131.

       At that time, bans on firearm ownership by 18–20-year-olds did not exist. “[I]f

earlier generations addressed the societal problem, but did so through materially

different means, that also could be evidence that a modern regulation is

unconstitutional.” Bruen, 597 U.S. at 27. Indeed, the earlier generations did just that.

“Most of the colonies required arms carrying under certain circumstances, such as

when traveling out of town, or when going to public assemblies, especially to church.”5

E.g. a 1770 Georgia statute required those attending church to be armed and applied to

all white males without specifying an age.6 At the time of the ratification, 18-20 year




5
  Kopel, David B. and Greenlee, Joseph, The Second Amendment Rights of Young
Adults (January 16, 2019). 43 Southern Illinois Law Journal 495 (2019), U Denver
Legal Studies Research Paper No. 18-28, at pg. 535 Available at SSRN:
https://ssrn.com/abstract=3205664 or http://dx.doi.org/10.2139/ssrn.3205664
6
  Allen D. Candler, comp., 19(part 1) THE COLONIAL RECORDS OF THE
STATE OF GEORGIA 138 (1910),
https://babel.hathitrust.org/cgi/pt?id=hvd.32044032308223&seq=144&q1=%22on
+any+Sunday+or+other+times,+to+any+church,+or+other+place+of+divine+wors
hip+within+the+parish+where+such+person+shall+reside%22, last accessed
January 10, 2025.
                                          9
  Case 1:24-cv-00496-JAO-WRP         Document 36     Filed 01/10/25    Page 15 of 21
                                     PageID.707


olds were no different than today and the Founders still chose to allow or even require

them to be armed. That is evidence that Hawaii law is unconstitutional.

      Hawaii cites a pre-Founding era law from New York addressing the illegal

discharge of firearms. Op at 16. However, this law misses the mark because the

“how and the why” are not remotely analogous to the State’s flat ban on possession.

The how of this law is different because it applied to anyone illegally discharging a

firearm and the penalty was a monetary fine. See Spitzer Declaration at 23. The why

of this law was to stop the dangerous and unlawful use of firearms by anyone,

whereas the challenged laws’ express goal is to disarm an entire subset of legal

adults. Even if this Court were to entertain 1868 as the proper time period for the

historical analysis – and it should not – Hawaii’s proffered historical support from the

mid 19th Century is equally unavailing. None of the proffered laws meet the demands

of Bruen and Rahimi regarding the “how and why.” The statutes cited deal with

illegal discharge, concealed carry of certain weapons and lending particular, discrete

categories of weapons to persons under 18. The State is grasping at straws and has

come up empty handed.

       Hawaii can only point to three states’ laws from the mid-19th century which

prohibited the sale of firearms to persons between 18 and 20 years of age. See 1856

Ala. Laws 17; 1856 Tenn. Pub. Acts 92; 1859 Ky. Acts 245 § 23. These restrictions

are outliers. And Bruen commands that historical “outlier” requirements of a few

                                          10
  Case 1:24-cv-00496-JAO-WRP         Document 36      Filed 01/10/25    Page 16 of 21
                                     PageID.708


jurisdictions are to be disregarded. Bruen, 142 S. Ct. at 2133, 2153, 2147 n.22 & 2156.

Even including laws from the late 19th Century laws, there were only a minority of

states which prohibited the sale of firearms to minors. See Espinoza v. Montana

Department of Revenue, 140 S. Ct. 2246, 2258–59 (2020) (“more than 30” provisions

of state law enacted “in the second half of the 19th Century” could not “evince a

tradition that should inform our understanding of the Free Exercise Clause” when those

provisions lacked grounding in Founding Era practice.”) As argued in the moving

papers, outlier laws such as these are insufficient to establish a tradition. PI Memo at

16. The State cannot point to a single law that banned the possession of firearms by

legal adults. And the proffered historical support is materially “distinct from the “how”

and “why” of Hawaii’s complete ban on ownership of firearms and ammunition.

Worth, 108 F.4th at 696. Hawaii has failed to meet its burden under Bruen and Rahimi

and so the challenged laws must be struck down.

IV.   Militiamen Were Required To Supply Their Own Personal Arms

      The State asserts that the Militia laws should not be viewed as evidence that

at the time of the Founding individuals aged 18-20 had an individual right to acquire

and possess firearms, because that firearm ownership was a “duty” associated solely

with their militia service. Again, the historical record does not support their

assertion. E.g. after the Civil War, the 39th Congress “decided to disband the

[Southern] militias but not to disarm their members” because doing so “would

                                           11
     Case 1:24-cv-00496-JAO-WRP     Document 36     Filed 01/10/25   Page 17 of 21
                                    PageID.709


violate the members’ right to bear arms.” McDonald v. City of Chicago, 561 U.S.

742, 780 (2010). The State’s reliance on firearms restrictions in schools is also

misplaced. As a threshold matter, the rules of private institutions have never been

held to constitutional standards because the constitution does not apply to private

actors. Indeed, Universities had many practices that if compelled by the government,

would have violated students’ constitutional rights. See University Church in Yale,

Yale University, https://church.yale.edu/history (explaining that until 1927, chapel

attendance was mandatory) (last accessed May 19, 2024). Thus, “founding-era

college rules are not persuasive sources to discern the constitutional rights of its

students.” Worth, 108 F.4th at 696. The historical restrictions placed on students say

nothing about restrictions the government may impose on peaceable legal adults. Cf.

Brown v. Ent. Merch. Ass’n, 564 U.S. 786, 795 n.3 (2011). To the extent some of

these schools were public, these laws were still inapposite. “The prohibitions

applied to students only”. See United States v. Allam, 677 F.Supp.3d 545, 572 (E.D.

Tex. 2023). They were not age based restrictions because they “applied to all

students regardless of age.” Id. And “they applied only to possession within a school

or in an area where school functions were taking place.” Id at 575. The how and the

why these restrictions likewise are inapposite to the challenged Hawaii law.

V.      The Remaining Preliminary Injunction Factors Support the Issuance of
        an Injunction



                                         12
  Case 1:24-cv-00496-JAO-WRP        Document 36      Filed 01/10/25   Page 18 of 21
                                    PageID.710


      Despite Hawaii’s claims to the contrary, binding Ninth Circuit precedent

cited by Plaintiffs confirms the remaining preliminary injunction factors militate in

Plaintiffs’ favor. Relying on case law from the economic injury context, Hawaii

argues that some parts of the laws challenged were passed in 1994 and thus the

harm to plaintiffs cannot be irreparable. This isn’t a case about economic injury, it’s

a case about the violation of constitutional rights. A demonstration that

constitutional rights have been violated is sufficient to demonstrate irreparable

harm. When a “plaintiff seeks a preliminary injunction because of an alleged

constitutional violation,” and having shown a likelihood to win on the merits, “that

showing will almost always demonstrate he is suffering irreparable harm as well.”

Baird v. Bonta, 81 F.4th 1036, 1042 (C.A.9 (Cal.), 2023). The irreparable nature of

a constitutional violation cannot be downplayed by the State simply because it has

gotten away with violating the Constitution for 30 years. Hawaii’s only support

deals with “economic injury.” Lydo Enterprises, Inc. v. City of Las Vegas, 745 F.2d

1211, 1216 (9th Cir. 1984). Moreover, here, there is no delay. The ammunition

restrictions challenged were passed last year and individual Plaintiffs only recently

entered the age range where they are impacted by the 18–20-year-old ban

      As to the other preliminary injunction prongs, balance of the equities and

public interest, Hawaii’s arguments are without merit. The Ninth Circuit’s

precedent from Baird is clear. “[W]e have held that plaintiffs who are able to

                                          13
  Case 1:24-cv-00496-JAO-WRP         Document 36      Filed 01/10/25   Page 19 of 21
                                     PageID.711


“establish[ ] a likelihood that [a] policy violates the U.S. Constitution ... have also

established that both the public interest and the balance of the equities favor a

preliminary injunction.” Baird, 81 F.4th at 1042 (quoting Ariz. Dream Act Coal. v.

Brewer, 757 F.3d 1053, 1069 (9th Cir. 2014)). Hawaii attempts to re-insert the

interest balancing analysis which was expressly rejected in Bruen by arguing it is

appropriate to consider in these last two prongs. Bruen, 142 S.Ct. at 2118. In

support of this attempted circumvention, the State offers two Declarations, both of

which speak directly to purported public safety harms that would stem from the

granting of the requested injunction. Elizabeth E. Cauffman argues that adults

between 18 and 20 have reduced self-control because their brains have not fully

developed. The State relies on her declaration to argue it is not in the public

interest to grant a preliminary injunction. Not only is it entirely inappropriate to

attempt to insert this declaration, not on the issue of their likelihood to win on the

merits – because the State knows they cannot under Bruen – but there is no

indication that brain development has changed since the Founding Era. The

Founding generation already took into consideration the age of brain development

and found “the right of law-abiding, responsible citizens to use arms” for self-

defense” trumps all other interests. Bruen, 142 S.Ct. at 2118.

      Similarly, Louis Klarevas argues that adults between the ages of 18-20 are

involved in a disproportionate amount of mass shootings. This is precisely the sort

                                           14
  Case 1:24-cv-00496-JAO-WRP         Document 36      Filed 01/10/25   Page 20 of 21
                                     PageID.712


of interest-balancing that Bruen specifically prohibits. The Ninth Circuit has been

remarkably clear in stating it is “always in the public interest to prevent the

violation of a party's constitutional rights.” Riley's Am. Heritage Farms v. Elsasser,

32 F.4th 707, 731 (9th Cir. 2022) (quoting Melendres v. Arpaio, 695 F.3d 990, 1002

(9th Cir. 2012)). This Court should not take the bait and be led by the State back

into an interest balancing test the Supreme Court just recently corrected multiple

circuits for improperly using. Plaintiffs have shown a likelihood of success on the

merits, and the remaining preliminary injunction prongs are fulfilled absent an

extraordinary showing which Hawaii has not made.

      Furthermore, Hawaii disputes the scope of the injunction that should be

granted. However, it does not dispute that this Court can grant an injunction against

the challenged laws if this Court finds that Plaintiffs’ fulfill the standard for a

preliminary injunction. Thus, there is no reason that this Court should not simply

grant an injunction against the challenged laws if it finds that Plaintiffs fulfill the

standard for a preliminary injunction.

                                  VI.    Conclusion

      A preliminary injunction should issue.




                                          15
  Case 1:24-cv-00496-JAO-WRP       Document 36      Filed 01/10/25   Page 21 of 21
                                   PageID.713


Dated: January 10, 2025.

                  Respectfully submitted,

                           _/s/Kevin O’Grady ____
                           Kevin O’Grady
                           Counsel for Plaintiffs


                           _/s/Alan Alexander Beck_
                           Alan Alexander Beck
                           Counsel for Plaintiffs




                                        16
